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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

    Triton II, LLC
                                                                    Case No. Case No. 0:18-cv-61469-BB
         Plaintiff,

    v.

    John Randazzo and
    Caprice Turner,
                                                                    Jury Trial Demanded
         Defendants.


                                        FIRST AMENDED COMPLAINT
                                                Substance of the Action
           1.         This is an action regarding the Defendants’ improper actions to induce Triton to

  transfer $2,963,133.44 to acquire a 30% interest in a purported operating virtual healthcare

  business that Randazzo claimed to exist called Comprehensive Virtual Healthcare, LLC (“CVH

  Florida”). No such business existed. At no point in time did CVH Florida have ongoing operations,

  customers or employees. Rather, Randazzo lied.

           2.         When Kris Lawrence, who is the principal and member of Triton, pressed Randazzo

  and Turner for information and documents, Triton finally became aware of the fraud perpetrated

  upon it. Directly confronted in the summer of 2018, Randazzo refused to provide any information

  about what happened to Triton’s monies. Thereafter, Turner produced a paper trail that established

  that CVH Florida was a sham, Randazzo lied to Lawrence and that Defendants absconded with

  Triton’s monies.




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          3.     Triton now sues under counts for: (1) securities fraud under Section 10(b) of the

  Exchange Act and Rule 10b-5; (2) fraudulent inducement; (3) negligent misrepresentation; (4)

  civil conspiracy and (5) unjust enrichment.

                                           Jurisdiction and Venue

          4.     This is an action for violation of federal securities laws, which is within this Court’s

  original subject matter jurisdiction under 28 U.S.C. § 1331, and for state law claims within the

  Court’s supplemental jurisdiction under 28 U.S.C. § 1367.

          5.     Venue is proper in this district under 28 U.S.C. § 1391(b) because a substantial part

  of the events establishing the claims occurred here.

          6.     Defendant Turner is subject to this Court’s jurisdiction under Florida’s long-arm

  statute, Fla. Stat. § 48.193, and based on her purposeful and substantial contacts with Florida and

  her knowing participation in the tortious acts set forth below.

                                                      Parties

          7.     Triton II, LLC is a Delaware limited liability company that maintains its principal

  place of business and carries out its core executive and administrative functions in Broward

  County, Florida. Triton’s members are Lawrence and his family trust. Lawrence is the managing

  member of Triton and controls and directs all investment decisions on its behalf.

          8.     Randazzo is an individual who resides in Broward County, Florida and is otherwise

  sui juris.

          9.     Turner, is upon information and belief, a resident of California. Turner is

  Randazzo’s step-daughter.




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                                      General Allegations and Facts

  A.     Randazzo’s misrepresentations regarding CVH Florida

         10.     Defendants’ fraud relating to CVH Florida begins with another investment

  opportunity pitched to Lawrence and Triton that ultimately never came to fruition: a North

  Carolina company called Comprehensive Virtual Healthcare, Inc. (“CVH NC”).

         11.     Lawrence met Randazzo in 2015 in connection with the sale of his company.

  Lawrence owned a Florida company called Sentry Data Systems. Randazzo approached Lawrence

  with a prospective buyer, who ultimately purchased the company. Randazzo received

  approximately $6 million for his role through the closing of this sale.

         12.     Shortly after the closing of the sale of Sentry Data Systems, Randazzo approached

  Lawrence with a pitch to induce him to invest in CVH NC along with a man named Jason Williams.

  Randazzo claimed to Lawrence he had played a role in selling Williams’ company for

  approximately $170 million to the same buyer that had purchased Lawrence’s company and that

  Randazzo had received approximately $4 million for his involvement in that sale.

         13.     Lawrence’s formal educational background is limited: he did not graduate high

  school nor does he hold any professional designations or certifications in finance or accounting.

  Because of his limited educational background, successful experience with Randazzo in selling

  Lawrence’s company and the other significant multi-million dollar transactions that Randazzo

  represented to Lawrence he was involved in, e.g., the sale of Williams’ business, Lawrence trusted

  Randazzo and his purported financial acumen. His trust of Randazzo rendered him an easy target

  for the deception that followed.




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         14.     Lawrence does not use e-mail, and instead, communicates with others by phone or

  in person meetings, and in limited instances, text messaging on his cellular phone. Any attempt by

  a third-party to contact Lawrence electronically is done through his assistant, Kelly Baker.

         15.     In the spring and early summer of 2015, Randazzo solicited Lawrence to make an

  investment of $3 million in CVH NC.

         16.     Randazzo represented to Lawrence that CVH NC was an operating healthcare

  company that had a business model and strategy under which it would use virtual technology to

  enable patients to connect with health care providers and receive primary and specialty care.

  Randazzo further represented to Lawrence that CVH NC had enlisted healthcare providers to

  participate in the business and that the healthcare business would proceed once Triton, made its

  investment. Among other things, on May 29, 2015, Randazzo represented to Lawrence, by

  emailing Baker, that Randazzo had “the commitment of 2 Blue Cross plans to make sure it [i.e.,

  the virtual healthcare business of CVH NC] is both viable and the potential for significant upside

  returns.”

         17.     Accepting Randazzo’s narrative and representations regarding CVH NC’s business

  strategy and prospects, Randazzo sent Lawrence on June 18, 2015 various documentation relating

  to the venture and arranged for Triton to wire $3,000,000 to a bank account purportedly for the

  CVH NC investment.

         18.     Whether Randazzo’s representations relating to CVH NC were true is unknown.

  Nonetheless, CVH NC was short lived. In early July 2015, Randazzo explained to Lawrence that

  Williams had backed out of the deal, and thus, the investment in North Carolina would not go

  forward. Of the original $3,000,000, $2,963,133.44 was returned to Triton.

         19.     Nevertheless, Randazzo remained determined to obtain Triton’s money.

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         20.     Through a series of oral representations from Randazzo to Lawrence in South

  Florida during the period of July 12, 2015 through July 31, 2015 (“Time Period”), Randazzo

  represented to Lawrence that another start-up company existed in Florida that employed the same

  business strategy as CVH NC: CVH Florida. In addition, Randazzo and Turner sent e-emails to

  Baker during the Time Period to facilitate the transfer of Triton’s monies to the CVH BoA Account

  (as defined below).

         21.     At all material times, Randazzo and Turner controlled CVH Florida.

         22.     Specifically, during the Time Period, Randazzo made the following material oral

  representations to Lawrence in South Florida regarding CVH Florida to induce Triton to make a

  multi-million dollar transfer to acquire a purported 30% interest in CVH Florida:

                 a. CVH Florida was operating as a virtual healthcare company to enable patients

                     to connect with health care providers and receive primary and specialty care

                     (“Statement 1”);

                 b. Although CVH Florida was a start-up, it already had ongoing business

                     operations and exploitable opportunities with insurance carriers, including Blue

                     Cross and Blue Shield of Florida, and healthcare providers in the virtual

                     healthcare field based upon Randazzo’s relationship with such parties

                     (“Statement 2”);

                 c. Triton’s monies would be used to fund day-to-day business operations and the

                     growth of the operating virtual healthcare business of CVH Florida (“Statement

                     3”);




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                 d. Because CVH Florida had ongoing business operations and opportunities with

                     insurance carriers and healthcare providers, CVH Florida had immediate

                     revenue generation opportunities (“Statement 4”) and

                 e. Randazzo had already received an offer from an undisclosed third-party to

                     acquire CVH Florida for $50 million which would yield a valuation of a 30%

                     interest in CVH Florida of $15 million (“Statement 5”; and together with

                     Statement 1, Statement 2, Statement 3 and Statement 4, the “Statements”).

         23.     The Statements were material to Triton because they conveyed to Lawrence that

  Triton would be investing in a unique business opportunity of an operating business with high

  growth prospects that already had a meaningful outside valuation.

         24.     Relying on the Statements made by Randazzo to Lawrence that Triton would be

  investing in an entity – CVH Florida – that (1) was operating as a virtual healthcare company; (2)

  already had ongoing business operation and opportunities with insurance carriers and healthcare

  providers in the virtual healthcare field; (3) had immediate revenue generation opportunities; and

  (4) Randazzo had already received an offer from an undisclosed third-party to acquire CVH Florida

  for $50 million, which would imply a $15 million valuation of the 30% interest that Randazzo

  solicited Triton to acquire, in addition to the significant multi-million dollar transactions Lawrence

  was aware Randazzo had been involved in; on August 3, 2015, Triton, at the direction of Lawrence,

  wired $2,963,133.44 to a bank account at Bank of America, N.A. under the Defendants’ exclusive

  control (“CVH BoA Account”) to purportedly acquire a 30% interest in CVH Florida.

         25.     Based on documents provided by Turner in June, 2018, Randazzo and Turner were

  the purported remaining 70% members in CVH Florida. However, based on bank statements

  provided in June, 2018, neither Randazzo nor Turner made any material capital contribution to

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  CVH Florida at the time the entity was formed or at any time thereafter. Rather, according to the

  documents provided by Turner in June, 2018, Defendants acquired their purported combined 70%

  interest in CVH Florida for $7. As such, Defendants never had any material amount of their

  personal funds at risk in the venture.

         26.     Each of the Statements made by Randazzo to Lawrence during the Time Period was

  false at the time it was made, and Randazzo acted with scienter with respect to all such Statements.

                 a. As to Statement 1, such statement was false and misleading at the time it was

                     made because CVH Florida was not operating as a virtual technology company

                     during the Time Period and Randazzo, as the promoter of the transaction and as

                     a purported member in CVH Florida, was aware of such fact or recklessly

                     disregarded it;

                 b. As to Statement 2, such statement was false and misleading at the time it was

                     made because neither Randazzo nor CVH Florida had ongoing business

                     opportunities or relationships with insurance carriers or healthcare providers in

                     the virtual healthcare field during the Time Period and Randazzo, as the

                     promoter of the transaction and as a purported member in CVH Florida, was

                     aware of such fact or recklessly disregarded it;

                 c. As to Statement 3, such statement was false and misleading at the time it was

                     made because CVH Florida had no existing day-to-day operations during the

                     Time Period and Randazzo, as the promoter of the transaction and as a

                     purported member in CVH Florida, was aware of such fact or recklessly

                     disregarded it;



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             d. As to Statement 4, such statement was false and misleading at the time it was

                 made because CVH Florida had no immediate revenue generation opportunities

                 during the Time Period and Randazzo, as the promoter of the transaction and as

                 a purported member of CVH Florida, was aware of such fact or recklessly

                 disregarded it, and

             e. As to Statement 5, such statement was false and misleading at the time it was

                 made because Randazzo never received any preliminary expression of interest

                 from anyone to acquire CVH Florida for “$50 million” during the Time Period

                 and Randazzo was aware of such fact or recklessly disregarded it.

       27.   Each of the Statements by Randazzo to Lawrence misled Triton:

             a. As to Statement 1, such statement misled Triton because it improperly

                 conveyed that Triton was investing in an entity that was operating as a virtual

                 healthcare company when no such operations were taking place;

             b. As to Statement 2, such statement misled Triton because it improperly

                 conveyed that Triton was investing in an entity that had ongoing business

                 opportunities or relationships with insurance carriers or healthcare providers in

                 the virtual healthcare field when no such opportunities or relationships existed;

             c. As to Statement 3, such statement misled Triton because it improperly

                 conveyed that Triton’s monies would be used to sustain legitimate operating

                 costs of a virtual healthcare business when no such operating costs existed;

             d. As to Statement 4, such statement misled Triton because it improperly

                 conveyed that with respect to CVH Florida’s purported business opportunities

                 and relationships within the virtual healthcare business, such opportunities and

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                     relationships would yield immediate revenues when no such immediate revenue

                     sources were available; and

                 e. As to Statement 5, such statement misled Triton because it improperly

                     conveyed that Triton’s acquisition of a 30% interest in CVH Florida would be

                     immediately more valuable than the amount invested when this was not so.

         28.     As a result of the false and misleading Statements, Randazzo induced Triton to

  transfer $2,963,133.44 to the CVH BoA Account, which materially increased the value of

  Defendants’ otherwise valueless interests in CVH Florida in August, 2015.

         29.     Subsequent events serve as circumstantial proof that all the Statements were false

  at the time Randazzo made them to Lawrence, that Randazzo had the required scienter in that he

  knew of the falsity of each such Statement at the time they were made or recklessly disregarded it,

  and that Randazzo and Turner formed CVH Florida for the improper purpose to defraud Triton:

                 a. CVH Florida never at any point operated as a healthcare business.

                 b. A little over a year after its formation, CVH Florida was administratively

                     dissolved.

                 c. CVH Florida never established office space after its formations to operate, but

                     instead, its principal place of business was always Randazzo’s home address.

                 d. CVH Florida never generated any revenues or profits at any time.

                 e. CVH Florida never entered into any agreement with healthcare providers or

                     insurers in the virtual healthcare field.

                 f. Other than Triton’s monies transferred on August 3, 2015, neither Randazzo

                     nor Turner ever made any material capital contribution to CVH Florida at

                     formation of the entity, at the time Triton wired its funds on August 3, 2015 or

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                      any time thereafter, and thus, were never in a position to suffer financial harm,

                      or actually suffered financial harm, as to their purported 70% interest in CVH

                      Florida.

                 g. As of the commencement of this litigation, CVH Florida never filed any federal

                      income tax return for 2015, 2016 or 2017.

                 h. CVH Florida never had any employees that operated a virtual healthcare

                      business. Turner alleged in June, 2018 that she was the sole employee of CVH

                      Florida, however, because CVH Florida has no federal tax filings, whether such

                      statement by Turner is true is unknown. Regardless, Turner also alleged that

                      she only “worked” for CVH Florida for one and a half years.

                 i.   Turner had no experience (i) in the healthcare industry generally, or the virtual

                      healthcare industry specifically or (ii) C-Suite experience.

         30.     Finally, the actual use of Triton’s monies by the Defendants in the 15 months after

  August 3, 2015 serves as additional circumstantial proof that all the Statements were false at the

  time Randazzo made them to Lawrence, that Randazzo had the required scienter in that he knew

  of the falsity of each such Statement at the time they were made or recklessly disregarded it, and

  that Randazzo and Turner formed CVH Florida for the improper purpose to defraud Triton

         31.     Namely, Triton’s $2,963,133.44 was never used to fund the day-to-day operations

  of a virtual healthcare business. Instead, approximately $2,465,000 was misappropriated by the

  Defendants as follows:

                 a. In February 2016, Defendants transferred $250,000 to another account at Bank

                      of America that was under Defendants’ control which had no business purpose

                      relating to virtual healthcare operations for CVH Florida (“3512 Account”);

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                 b. In April 2016, Defendants withdrew $1,000,000 from the CVH BoA Account

                     with its final destination unknown and separately transferred $530,000 to the

                     3512 Account;

                 c. In May 2016, Defendants transferred $425,200 to the 3512 Account;

                 d. In September 2016, Defendants transferred $260,140 to the 3512 Account;

         32.     As to the remaining approximate $500,000, Defendants primarily misappropriated

  such monies as follows:

                 a. Pay personal expenses, including meals, flights and personal services, for

                     Turner or Randazzo.

                 b. Pay legal expenses for other business ventures involving Turner or Randazzo

                     and

                 c. Even though CVH Florida had no ongoing business operations in the virtual

                     healthcare industry, it transferred directly to Turner (i) approximately $45,000

                     in 2015 and (ii) approximately $108,000 in 2016.

         33.     Randazzo made each of the false Statements to Lawrence with the intent to induce

  Triton to transfer $2,963,133.44 to the CVH BoA Account on August 3, 2015 which materially

  increased the value of Defendants’ otherwise valueless interests in CVH Florida at such time.

  Absent Randazzo making the Statements or in fact disclosing the true status and financial viability

  of CVH Florida during the Time Period or what Defendants actually intended to do with Triton’s

  funds, Triton would never have made the transfer to acquire any interest in CVH Florida.

  B. Defendants’ June 2018 attempt to explain their fraud

         34.     On June 11, 2018, Lawrence met with Randazzo to confront him as to what

  occurred with the nearly $3,000,000 Triton transferred in August, 2015.

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         35.     At this meeting, Randazzo refused to provide any basic level of disclosure as to the

  current operations of CVH Florida, what happened to Triton’s money, or what documentation

  existed regarding the company’s operations.

         36.     Later that same day, counsel for Lawrence and Triton emailed Turner requesting

  that she provide the relevant information regarding CVH Florida.

         37.     In response, Turner revealed that CVH Florida never operated as a virtual

  healthcare company, that there were no historical or ongoing business operations and opportunities

  with insurance carriers and healthcare providers in the virtual healthcare field, and that there were

  never was any revenue generation for CVH Florida.

         38.     Turner also represented that, instead of using Triton’s monies as Randazzo

  represented to Lawrence they would be used for, $2.425 million of Triton’s monies were

  purportedly used to invest in other start-up companies through another company controlled by

  Defendants.

         39.     None of these investments are held in Triton’s name and Triton holds no

  membership interest in this separate entity. Regardless, Triton never knew of, let alone approved

  or at any time agreed to, any use of its monies for such investments by the Defendants. Put simply,

  Triton and Lawrence never agreed to transfer $2,963,133.44 on August 3, 2015 for the purpose of

  Defendants then using such monies to make investments in other companies on Triton’s behalf

  with the Defendants receiving an unheard of 70% fee on any gain in such investment.




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                                                    COUNTS

                                                Count 1
                            Violation of Section 10(b) of the Exchange Act
                              and Rule 10b-5 Promulgated Thereunder
                                           against Randazzo

         40.     Triton adopts and incorporates paragraphs 1 through 40.

         41.     Randazzo engaged in an intentional plan, scheme and course of conduct for the

  purpose of: (1) deceiving Triton; and (2) causing it, under false pretenses, to buy securities in CVH

  Florida. In furtherance of this fraudulent scheme, Randazzo took the actions set forth herein.

         42.     Randazzo (1) employed manipulative and deceptive devices, schemes, artifices,

  plans and acts; (2) made each of the false or misleading Statements, each of which was material to

  Triton because the Statements conveyed the impression to Lawrence and Triton that Triton would

  be investing in a unique business opportunity in an already operational business with high growth

  prospects that already had a meaningful outside valuation; and (3) engaged in acts, practices, and

  a course of business which operated as a fraud and deceit upon Triton, all for the purpose of

  inducing Triton to buy securities in CVH Florida. The conduct of Randazzo operated to defraud

  Triton, as a purchaser of securities, in violation of Section 10(b) of the Exchange Act and Rule

  10b-5. Randazzo is responsible for the fraud as a primary participant in the wrongful and illegal

  conduct alleged herein.

         43.     Randazzo directly, by the use, means or instrumentalities of interstate commerce or

  of the mails, engaged and participated in a continuous course of conduct during the Time Period

  to misrepresent material facts to Triton.

         44.     As set forth in paragraphs 27, 30-33, Randazzo acted with scienter in that he had

  actual knowledge of the falsity or misleading nature of each of the material Statements, or acted


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  with reckless disregard of the veracity of each such Statement, in that he deliberately refrained

  from taking reasonable and necessary steps to discover whether the Statements were false or

  misleading, and failed to ascertain and to disclose material facts to Triton that were available to

  him. Randazzo’s material and false or misleading Statements were done knowingly or recklessly

  and with the specific intent and effect of inducing Triton to acquiring a 30% membership interest

  in CVH Florida.

         45.     In transferring $2,963,133.44 to the CVH BoA Account on August 3, 2015 to

  acquire a 30% interest in CVH Florida, Triton justifiably and reasonably relied on Randazzo’s

  conduct, including his (1) employment of manipulative and deceptive devices, schemes, artifices,

  plans and acts and (2) the materially false or misleading Statements which operated as a fraud and

  deceit upon Triton.

         46.     As a result of the dissemination of the materially false or misleading Statements,

  Triton acquired a 30% interest in CVH Florida, which had an actual value far less than what was

  represented by Randazzo to Lawrence.

         47.     When Randazzo made or caused the material false or misleading Statements to

  Lawrence during the Time Period, Triton did not know or possess any information regarding their

  falsity or misleading aspect, and thus, believed the statements and representations to be true and

  correct. If Triton had known the truth regarding the subject matter of the Statements, Triton would

  not have purchased or otherwise acquired a 30% interest in CVH Florida.

         48.     Based on the foregoing, Randazzo violated Section 10(b) of the Exchange Act and

  Rule 10b-5 promulgated thereunder.

         49.     As a direct and proximate result of Randazzo’s wrongful conduct, Triton suffered

  damages in connection with its purchases of a 30% interest in CVH Florida.

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                                             Count 2
                            Fraudulent Misrepresentation against Randazzo

         50.     Triton adopts and incorporates paragraphs 1 through 40.

         51.     As set forth in paragraph 23, Randazzo made the Statements to Lawrence during

  the Time Period, which are summarized below:

                 a. CVH Florida was operating as a virtual healthcare company;

                 b. CVH Florida already had ongoing business operation and opportunities with

                     insurance carriers and healthcare providers in the virtual healthcare field;

                 c. Triton’s monies would be utilized to fund day-to-day operations of the virtual

                     healthcare business;

                 d. CVH Florida had immediate revenue generation opportunities and

                 e. Randazzo had already received an offer from an undisclosed third-party to

                     acquire CVH Florida for $50 million.

         52.     Each of the Statements was material to Triton because it conveyed the impression

  that Triton would be investing in a unique business opportunity in an already operational business

  with exciting growth prospects that already had a meaningful valuation.

         53.     As set forth in paragraphs 27, 30-33, Randazzo knew that all of the Statements were

  false at the time they were made.

         54.     Randazzo made the knowingly false and material Statements to Lawrence with the

  intent to induce Triton to transfer $2,963,133.44 to the CVH BoA Account on August 3, 2015.

  Absent Randazzo making the Statements or in fact disclosing the true status and financial viability

  of CVH Florida during the Time Period or what Defendants actually intended to do with Triton’s

  funds, Triton would never have made such transfer of funds.


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            55.   As a result of Triton’s justifiable reliance on the Statements made by Randazzo to

  Lawrence during the Time Period, Triton suffered damages.

                                               Count 3
                            Civil Conspiracy against Randazzo and Turner

            56.   Triton adopts and incorporates paragraphs 1 through 40.

            57.   This is a claim for conspiracy.

            58.   As set forth in paragraphs 23, 27, 30-33, Randazzo made knowingly false material

  statements to Lawrence during the Time Period to induce Triton to transfer $2,963,133.44 to the

  CVH BoA Account on August 3, 2015 to acquire a purported 30% interest in CVH Florida.

            59.   Randazzo and Turner agreed that Randazzo would make such knowingly false

  material statements to Lawrence with the intent to obtain Triton’s monies (the “Conspiracy”).

            60.   Both Defendants committed overt acts to further the Conspiracy:

                  a. Randazzo made the knowingly false and material Statements to Lawrence;

                  b. Both Turner and Randazzo sent e-mails to Baker during the Time Period to

                      facilitate the transfer of monies by Triton on August, 3, 2015 and

                  c. Turner formed CVH Florida on July 16, 2015 and established the CVH BoA

                      Account.

            61.   Triton suffered damages as a result of the Defendant’s Conspiracy.

                                              Count 4
                             Unjust Enrichment against Randazzo and Turner

            62.   Triton adopts and incorporates paragraphs 1 through 40.

            63.   This is a claim for unjust enrichment and is pled in the alternative to Triton’s legal

  claims.

            64.   Triton lacks an adequate remedy at law.

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         65.    Triton conferred a benefit upon Randazzo and Turner in transferring $2,963,133.44

  to the CVH BoA Account on August 3, 2015.

         66.    To the extent the CVH BoA Account was in fact opened in the name of CVH

  Florida, the corporate form of CVH Florida should be disregarded and the transfer of

  $2,963,133.44 to the CVH BoA Account on August 3, 2015 should be treated as a benefit directly

  conferred upon Defendants because:

                a. CVH had no independent employees or managers and Defendants dominated

                     and controlled CVH Florida that its independence was in fact non-existent and

                     Defendants were in fact the alter egos of CVH Florida;

                b. Defendants formed CVH Florida during the Time Period for the improper

                     purpose to effectuate the defrauding of Triton and

                c. Triton suffered damages as a result of the Defendants’ improper use of CVH

                     Florida’s corporate form.

         67.    Defendants have appreciated, accepted and retained the benefit of the

  $2,963,133.44 transferred by Triton on August 3, 2015.

         68.    It would be inequitable for Defendants to retain the benefit of the $2,963,133.44

  transferred by Triton on August 3, 2015 without paying the value thereof.

                                              Count 5
                              Negligent Misrepresentation against Randazzo

         69.    Triton adopts and incorporates paragraphs 1 through 40.

         70.    As set forth in paragraph 23, Randazzo made the Statements to Lawrence during

  the Time Period, which are summarized below:

                a. CVH Florida was operating as a virtual healthcare company;


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                 b. CVH Florida already had ongoing business operation and opportunities with

                       insurance carriers and healthcare providers in the virtual healthcare field;

                 c. Triton’s monies would be utilized to fund day-to-day operations of the virtual

                       healthcare business;

                 d. CVH Florida had immediate revenue generation opportunities and

                 e. Randazzo had already received an offer from an undisclosed third-party to

                       acquire CVH Florida for $50 million.

         71.     Each of the Statements was material to Triton because they conveyed the

  impression that Triton would be investing in a unique business opportunity in an already

  operational business with exciting growth prospects that already had a meaningful valuation.

         72.     Randazzo made each of the Statements to Lawrence without knowledge of its truth

  or falsity, or should have known that each of the Statements was false at the time they were made

  had he undertaken a cursory review of CVH’s then present business activities, its immediate

  business development and revenue prospects and whether he in fact received an offer from an

  undisclosed third-party to acquire CVH Florida for $50 million.

         73.     Randazzo made the negligently false and material Statements to Lawrence with the

  intent to induce Triton to transfer $2,963,133.44 to the CVH BoA Account on August 3, 2015 to

  acquire a purported 30% interest in CVH Florida. Absent Randazzo making the Statements or in

  fact disclosing the true status and financial viability of CVH Florida during the Time Period or

  what Defendants actually intended to do with Triton’s funds, Triton would never have made such

  transfer of funds.

         74.     As a result of Triton’s justifiable reliance on the Statements made by Randazzo to

  Lawrence during the Time Period, Triton suffered damages.

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                                              Prayer for Relief

        WHEREFORE, Triton requests that this Court award the following relief:
        A.     With respect to Count 1, (i) enter judgment in favor of Triton and against Randazzo
               and (ii) rescinding Triton’s acquisition of a 30% interest in CVH Florida by
               requiring Randazzo to provide Triton $2,963,133.44 in exchange for Triton’s 30%
               interest in such entity or (iii) to the extent the Court determines rescission is not
               appropriate, award compensatory damages in an amount to be determined at trial;
        B.     With respect to Count 2, (i) enter judgment in favor of Triton and against Randazzo
               and (ii) award compensatory damages in an amount to be determined at trial;
        C.     With respect to Count 3, (i) enter judgment in favor of Triton and against
               Defendants and (ii) award compensatory damages in an amount to be determined
               at trial;
        D.     With respect to Count 4, (i) enter judgment in favor of Triton and against
               Defendants and (ii) award compensatory damages in an amount to be determined
               at trial;
        E.     With respect to Count 5, (i) enter judgment in favor of Triton and against Randazzo
               and (ii) award compensatory damages in an amount to be determined at trial;
        F.     With respect to Counts 1 through 3, awarding Triton punitive damages;
        G.     With respect to all Counts, awarding Triton’s out of pocket costs incurred in the
               prosecution of this action;
        H.     With respect to all Counts, awarding pre-judgment interest and post-judgment
               interest to the extent allowed by applicable statute and
        I.     Awarding Triton such other and further relief as the Court deems just and proper.

  Dated: October 19, 2018                           Respectfully submitted,


                                                    /s/ Paul D. Turner
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                                                      Attorneys for Plaintiff

                                            Certificate of Service

         I certify that on Octobter19, 2018, I electronically filed the foregoing document with the
  Clerk of the Court using CM/ECF. I also certify that I served counsel of record or pro se parties
  either via transmission of Notices of Electronic Filing generated by CM/ECF or in some other
  authorized manner for those counsel or parties who are not authorized to receive electronically
  Notices of Electronic Filing.
                                                      /s/ Paul Turner
                                                      Paul D. Turner (113743)




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